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    In the United States Court of Federal Claims
                                 OFFICE OF SPECIAL MASTERS
                                         No. 18-0138V
                                        UNPUBLISHED


    MADISON EDWARDS,                                         Chief Special Master Corcoran

                         Petitioner,                         Filed: December 13, 2019
    v.
                                                             Special Processing Unit (SPU);
    SECRETARY OF HEALTH AND                                  Decision Awarding Damages; Pain
    HUMAN SERVICES,                                          and Suffering; Meningococcal
                                                             Vaccine; Vasovagal Syncope
                        Respondent.


Damon Louis Beard, Townsley Law Firm, Lake Charles, LA, for petitioner.

Adriana Ruth Teitel, U.S. Department of Justice, Washington, DC, for respondent.


                                DECISION AWARDING DAMAGES1

       On January 28, 2019, Madison Edwards filed a petition for compensation under
the National Vaccine Injury Compensation Program, 42 U.S.C. §300aa-10, et seq.,2 (the
“Vaccine Act”). Petitioner alleges that she suffered a syncopal episode upon receiving a
meningitis vaccination on January 29, 2016, which resulted in “injuries, including fractured
jaw, ruptured eardrum, chin laceration and fractured teeth.” Petition at Preamble, ¶6. The
case was assigned to the Special Processing Unit of the Office of Special Masters.

      On October 5, 2019, a ruling on entitlement was issued finding Petitioner entitled
to compensation. On December 12, 2019, Respondent filed a proffer on award of
compensation (“Proffer”) indicating Petitioner should be awarded damages in the amount
$101,287.69, representing compensation in the amount of $100,000.00 for actual pain
and suffering, $915.00 for past unreimbursable expenses, and $372.69 for payment of a
Medicaid lien. Proffer at 1-2. In the Proffer, Respondent represented that Petitioner
1
  Because this unpublished ruling contains a reasoned explanation for the action in this case, I am required
to post it on the United States Court of Federal Claims' website in accordance with the E-Government Act
of 2002. 44 U.S.C. § 3501 note (2012) (Federal Management and Promotion of Electronic Government
Services). This means the ruling will be available to anyone with access to the internet. In
accordance with Vaccine Rule 18(b), Petitioner has 14 days to identify and move to redact medical or other
information, the disclosure of which would constitute an unwarranted invasion of privacy. If, upon review, I
agree that the identified material fits within this definition, I will redact such material from public access.
2
  National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for ease
of citation, all “§” references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. § 300aa
(2012).
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agrees with the proffered award. Id. Based on the record as a whole, I find that Petitioner
is entitled to an award as stated in the Proffer.

       Pursuant to the terms stated in the attached Proffer, I award Petitioner the
following:

    a) lump sum payment of $372.69, representing compensation for full satisfaction of
        a State of Louisiana Medicaid lien, in the form of a check payable jointly to
        Petitioner and

                                AmeriHealth Caritas Medicaid
                                c/o Discovery Health Partners
                                2 Pierce Place, Suite 1900
                                Itasca, IL 60143
                                Case Number: 95576

        Petitioner agrees to endorse this payment to AmeriHealth Caritas Medicaid.

    b) a lump sum of $100,915.00 in the form of a check payable to Petitioner. This
        amount represents compensation for all remaining damages that would be
        available under 42 U.S.C. § 300aa-15(a)

The clerk of the court is directed to enter judgment in accordance with this decision.3

IT IS SO ORDERED.

                                         s/Brian H. Corcoran
                                         Brian H. Corcoran
                                         Chief Special Master




3
  Pursuant to Vaccine Rule 11(a), entry of judgment can be expedited by the parties’ joint filing of notice
renouncing the right to seek review.


                                                    2
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               IN THE UNITED STATES COURT OF FEDERAL CLAIMS
                         OFFICE OF SPECIAL MASTERS

    MADISON EDWARDS,

                          Petitioner,

          v.                                              No. 19-138V
                                                          Chief Special Master Corcoran (SPU)
    SECRETARY OF HEALTH AND                               ECF
    HUMAN SERVICES,

                          Respondent.

                 RESPONDENT’S PROFFER ON AWARD OF COMPENSATION

I.        Compensation for Vaccine Injury-Related Items

          On October 4, 2019, respondent filed a Rule 4(c) Report conceding that petitioner is

entitled to vaccine compensation for her vasovagal syncope that occurred following receipt of a

meningococcal vaccination. The Chief Special Master’s Ruling on Entitlement, adopting

respondent’s recommendation, was issued the same day.

          Based upon the evidence of record, respondent proffers that petitioner 1 should be awarded

$101,287.69. This is comprised of pain and suffering ($100,000.00), unreimbursable out of

pocket expenses ($915.00), and payment of a Medicaid lien ($372.69), and represents all elements

of compensation to which petitioner would be entitled under 42 U.S.C. § 300aa-15(a). 2 Petitioner

agrees.




1
    Petitioner is a competent adult, therefore evidence of guardianship is not required in this case.
2
  Should Petitioner die prior to entry of judgment, the parties reserve the right to move the Court
for appropriate relief. In particular, respondent would oppose any award for future medical
expenses and future pain and suffering.

                                                     1
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II.    Form of the Award

       Respondent recommends that the compensation provided to petitioner should be made

through:
               a) lump sum payment of $372.69, representing compensation for full satisfaction
                     of a State of Louisiana Medicaid lien, in the form of a check payable jointly to
                     petitioner and

                                        AmeriHealth Caritas Medicaid
                                        c/o Discovery Health Partners
                                        2 Pierce Place, Suite 1900
                                        Itasca, IL 60143
                                        Case Number: 95576

                     Petitioner agrees to endorse this payment to AmeriHealth Caritas Medicaid.

               b) a lump sum of $100,915.00 in the form of a check payable to petitioner. This
                  amount represents compensation for all remaining damages that would be
                  available under 42 U.S.C. § 300aa-15(a).

Petitioner agrees.
                                                       Respectfully submitted,

                                                       JOSEPH H. HUNT
                                                       Assistant Attorney General

                                                       C. SALVATORE D’ALESSIO
                                                       Acting Director
                                                       Torts Branch, Civil Division

                                                       CATHARINE E. REEVES
                                                       Deputy Director
                                                       Torts Branch, Civil Division

                                                       HEATHER L. PEARLMAN
                                                       Assistant Director
                                                       Torts Branch, Civil Division

                                                       /s/ Adriana Teitel
                                                       ADRIANA TEITEL
                                                       Trial Attorney
                                                       Torts Branch, Civil Division
                                                       U.S. Department of Justice
                                                       P.O. Box 146, Benjamin Franklin Station
                                                       Washington, DC 20044-0146
Dated: December 12, 2019                               Tel: (202) 616-3677
                                                   2
